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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                               Chapter 11
PURDUE PHARMA L.P., et al.,
                                                     Case No. 19-23649 (RDD)
               Debtors. 1
                                                     (Jointly Administered)


         FIRST AMENDED VERIFIED STATEMENT OF THE AD HOC
    COMMITTEE OF NAS CHILDREN PURSUANT TO BANKRUPTCY RULE 2019

         Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy

Rules"), The Ad Hoc Committee of NAS Children (the "NAS Committee") holding general unsecured

claims in the above-captioned chapter 11 cases, by and through its undersigned counsel, submits this




1
 The Debtors in these cases, along with the last four digits of each Debtor's registration number
in the applicable jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc.
(7486), Purdue Transdermal Technologies L.P. (1868), Purdue Pharma Manufacturing L.P.
(3821), Purdue Pharmaceuticals L.P. (0034), Imbrium Therapeutics L.P. (8810), Adlon
Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp. (4591),
Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt
Cove Lifescience Inc. (7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul
Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes Pharmaceuticals L.P. (6166), Rhodes
Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and SVC Pharma Inc. (4014).
The Debtors' corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard,
Stamford, CT 06901.
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verified statement pursuant to Fed. R. Bankr. P. 2019 (the "Amended Verified Statement") and, in

support thereof, states as follows:

        I . In and about September 2019 the NAS Committee was formed and, thereafter, retained

counsel, Tarter Krinsky & Drogin LLP ("TKD"), to represent the NAS Committee in the

Debtors' chapter 11 cases. 2

        2.       On October 22, 2019, the NAS Committee filed its original verified statement

pursuant to Fed. R. Bankr. P. 2019 [Docket No. 341] (the "Original Verified Statement"). Since

the filing of the Original Verified Statement, thousands of additional individuals claiming

injuries and conditions related to use of opiates manufactured by some or all of the Debtors have

joined the NAS Committee.

        3.       In accordance with Bankruptcy Rule 2019, attached hereto as Exhibit A are the

initials of each member of the NAS Committee. The NAS Committee believes that no further

disclosure is required in order to protect the confidentiality and privacy of its members. The

information set fo1ih in Exhibit A is based on information provided by the applicable members

of the NAS Committee or their counsel to TKD, and is intended only to comply with Bankruptcy

Rule 2019 and it is not intended for any other purpose. TKD does not make any representation

regarding the validity, amount, allowance, or priority of such claims and reserves all rights with

respect thereto.

        4.       Nothing contained in this Amended Verified Statement (or Exhibit A) should be

construed as a limitation upon, or waiver of, any rights of any member of the NAS Committee to




2
 TKO also represents the so-called "Guardian Claimants", as putative class representatives in connection with their
request to file a class proof of claim.

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